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                                                                                                FILED
                                                                                                CLERK
                                                                                   4:08 pm, Jul 11,2022
 UNITED STATES DISTRICT COURT                                                          U.S. DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                                     EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------X                            LONG ISLAND OFFICE
 Tony Caccavale, et al.,

                           Plaintiff,                                 RECUSAL ORDER
        -V-
                                                                      20-cv-00974-GRB-JMW
 Hewlett-Packard Company a/k/a HP Inc., et al,

                            Defendant.
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 WICKS, Magistrate Judge

        The undersigned hereby recuses himself from the above entitled case pursuant to 28
 U.S.C., Section 455 (a) and it is requested that the Clerk of the Court reassign this case to
 another Magistrate Judge in the ordinary course of business.

                                                               SO ORDERED:

                                                               s/ James M. Wicks
                                                               JAMES M. WICKS
                                                               United States Magistrate Judge

 Dated:       July 11, 2022
